Case 2:16-cv-09038-SRC-CLW Document 171 Filed 05/09/19 Page 1 of 1 PageID: 3704



                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
                                               NEWARK
 5/9/19
 Judge Chesler
 Jackie Kashmer, Court Reporter

 Title of Case

 BAUSCH HEALTH COMPANIES INC., et al
 v.
 ACTAVIS LABORATORIES
                                                              Docket No. 16-9038

 Appearances
 Same

 Nature of Proceedings-

         Trial without jury continued at 9:30 a.m. before Judge Chesler
         Defendant Rests
         Court indicated all motions will be under advisement
         Both Sides Rest
         Summations by plaintiff
         Summations by defendant
         DECISION RESERVED
         Counsel shall submit the final briefing schedule to the Court
         Ordered trial without jury adjourned at 11:35 a.m.

         9:30 a.m. to 11:35 a.m. 2.05
         s/Theresa C. Trivino, Senior Courtroom Deputy to the Honorable Stanley R. Chesler
